Filed 06/02/20                                                          Case 20-11858                                                                               Doc 12

     Information to identify the case:
     Debtor 1               Virginia Reyes                                                            Social Security number or ITIN            xxx−xx−9352
                            First Name   Middle Name     Last Name                                    EIN _ _−_ _ _ _ _ _ _
     Debtor 2                                                                                         Social Security number or ITIN _ _ _ _
     (Spouse, if filing)
                            First Name   Middle Name     Last Name                                    EIN     _ _−_ _ _ _ _ _ _
     United States Bankruptcy Court             Eastern District of California
                                                                                                      Date case filed for chapter 7: 5/29/20
     Case number:          20−11858 − B − 7
                                                                                                                                                             12/15

     Official Form 309A (For Individuals or Joint Debtors)
     Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline
     For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
     been entered.

     This notice has important information about the case for creditors, debtors, and trustees, including information about
     the meeting of creditors and deadlines. Read both pages carefully.

     The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
     from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess
     property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who
     violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days
     or not exist at all, although debtors can ask the court to extend or impose a stay.

     The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who want to have a particular
     debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the deadlines specified in this notice. (See line 9
     for more information.)

     To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
     through PACER (Public Access to Court Electronic Records at www.pacer.gov).


     The staff of the bankruptcy clerk's office cannot give legal advice.

     To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
     Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
     filed with the court.

     Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
     a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
     with the court.

                                                       About Debtor 1:                                              About Debtor 2:

      1.     Debtor's full name                        Virginia Reyes

      2.     All other names used in the aka Virginia Reyes−Reyes , fka Virginia Azevedo
             last 8 years

      3.    Address                                 1419 Kathryn Ave
                                                    Madera, CA 93638

      4.    Debtor's attorney                       Evan Livingstone                                                Contact phone: 707−206−6570
                                                    740 4th St, Ste 215
            Name and address                        Santa Rosa, CA 95404

      5.    Bankruptcy trustee                      James Edward Salven                                             Contact phone: 559−230−1095
                                                    PO Box 25970
            Name and address                        Fresno, CA 93729

                                                                                                                             For more information, see page 2 >


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     Debtor: Virginia Reyes                                                                                               Case number: 20−11858 − B − 7


    6. Bankruptcy clerk's office                      Robert E. Coyle United States Courthouse                         Hours: M−F 9:00 AM − 4:00 PM
                                                      2500 Tulare Street, Suite 2501
          You may inspect all records filed in this   Fresno, CA 93721−1318                                            www.caeb.uscourts.gov
         case at this office or online at                                                                              Phone: (559) 499−5800
         www.pacer.gov.
                                                                                                                       Date: 6/2/20

    7. Meeting of creditors                           July 9, 2020 at 09:00 AM                                         Location:
         Debtors must attend the meeting to be
         questioned under oath. In a joint case,      The meeting may be continued or adjourned to a later date.This meeting is being held
         both spouses must attend. Creditors may      If so, the date will be on the court docket.              telephonically. For telephonic
         attend, but are not required to do so.
                                                      Debtors are required to bring government issued photo information please go to
                                                      identification and proof of social security number to the www.caeb.uscourts.gov
                                                      meeting of creditors.


    8. Presumption of abuse                           The presumption of abuse does not arise.
         If the presumption of abuse arises, you
         may have the right to file a motion to
         dismiss the case under 11 U.S.C. §
         707(b). Debtors may rebut the
         presumption by showing special
         circumstances.


    9. Deadlines                                      File by the deadline to object to discharge or                   Filing deadline: 9/8/20
         The bankruptcy clerk's office must receive   to challenge whether certain debts are
         these documents and any required filing      dischargeable:
         fee by the following deadlines.
                                                      You must file a complaint:
                                                      • if you assert that the debtor is not entitled to
                                                        receive a discharge of any debts under any of the
                                                        subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                        or

                                                      • if you want to have a debt excepted from discharge
                                                        under 11 U.S.C § 523(a)(2), (4), or (6).

                                                      You must file a motion:
                                                      • if you assert that the discharge should be denied
                                                        under § 727(a)(8) or (9).


                                                      Deadline to object to exemptions:                                Filing deadline: 30 days after the
                                                      The law permits debtors to keep certain property as              conclusion of the meeting of creditors
                                                      exempt. If you believe that the law does not authorize an
                                                      exemption claimed, you may file an objection.


    10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If
                                                      it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
         Please do not file a proof of claim unless   that you may file a proof of claim and stating the deadline.
         you receive a notice to do so.


    11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court
                                                      to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                                      have any questions about your rights in this case.


    12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                      distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                                      the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an
                                                      exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                      objection by the deadline to object to exemptions in line 9.



    13. Options to Receive Notices                    Anyone can register for the Electronic Bankruptcy Noticing program at ebn.uscourts.gov or debtors can
        Served by the Clerk by Email                  register for DeBN by filing form EDC 3−321 Debtor's Electronic Noticing Request (DeBN) with the Clerk of
                                                      Court. Both options are FREE and allow the Clerk to quickly send you court−issued notices and orders by
        Instead of by U.S. Mail                       email.


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